                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 TAMI LYNN WYLLIE, Administrator              :           NO.: 2:20-CV-04296-MSG
 of the ESTATE OF KENNETH ERVIN               :
 LEISTER,                                     :             CIVIL ACTION – LAW
                        Plaintiff             :
                                              :       JUDGE MITCHELL S. GOLDBERG
        v.                                    :
                                              :
 BUCKS COUNTY; et al.,                        :
                             Defendants       :           JURY TRIAL DEMANDED


                                          ORDER

       AND NOW, this ______ day of ____________________, 2022, upon consideration of the

Stipulation of Counsel for Dismissal of Defendants Bucks County, Austin Bunda, James Young

Jesse Rodriguez, Henry Nash, Christopher Best, Mark Gray, Bryan Dones-Ortega, David Gresko

Andrew Amoroso, Robert McHenry, David Geiger, James Bedekovich and Michael Kempfe, the

Stipulation is hereby APPROVED and these Defendants are DISMISSED WITH PREJUDICE.


                                          BY THE COURT:




                                          MITCHELL S. GOLDBERG, J.
                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 TAMI LYNN WYLLIE, Administrator                   :             NO.: 2:20-CV-04296-MSG
 of the ESTATE OF KENNETH ERVIN                    :
 LEISTER,                                          :              CIVIL ACTION – LAW
                        Plaintiff                  :
                                                   :       JUDGE MITCHELL S. GOLDBERG
        v.                                         :
                                                   :
 BUCKS COUNTY; et al.,                             :
                               Defendants          :             JURY TRIAL DEMANDED


                       STIPULATION OF COUNSEL FOR DISMISSAL
                        OF ALL BUCKS COUNTY DEFENDANTS

       The undersigned parties, by and through their respective counsel, hereby agree and

stipulate pursuant to Fed. R.Civ. P 41(a)(1)(A)(ii) that all claims as asserted against Defendants

Bucks County, Austin Bunda, James Young, Jesse Rodriguez, Henry Nash, Christopher Best,

Mark Gray, Bryan Dones-Ortega, David Gresko, Andrew Amoroso, Robert McHenry, David

Geiger, James Bedekovich and Michael Kempfe are hereby DISMISSED WITH PREJUDICE ,

without costs and each side bearing their own attorney’s fees.



/s/Brian J. Zeiger_____________                        /s/ Keith J. Bidlingmaier_______
Brian J. Zeiger, Esquire                               Keith J. Bidlingmaier, Esquire
Attorney I.D. No. 87063                                Attorney I.D. No. 87776
Levin & Zeiger, LLP                                    Bucks County Law Department
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Philadelphia, PA 19102                                 5th Floor
215-546-0340                                           Doylestown, PA 18901
zeiger@levinzeiger.com                                 kjbidlingmaier@buckscounty.org
Attorney for Plaintiff                                 Attorney for all County Defendants



Dated: January 4, 2022
                              CERTIFICATE OF SERVICE


       The undersigned hereby certifies that on the 4th day of January, 2022, the foregoing

Stipulation of Counsel for Dismissal of all Bucks County Defendants was electronically filed

with the Clerk of Court using the CM/ECF system which will send notification of such filing to

counsel of record, which service satisfies the requirements of the Federal Rules of Civil

Procedure:


Brian J. Zeiger, Esquire
Levin & Zeiger, LLP
1500 JFK Boulevard, Suite 620
Philadelphia, PA 19102
zeiger@levinzeiger.com
Attorney for Plaintiff


                                                     BUCKS COUNTY LAW DEPARTMENT


                                                     By:/s/ Keith J. Bidlingmaier
                                                       Keith J. Bidlingmaier
